Case 21-30589-MBK            Doc 1939       Filed 04/01/22 Entered 04/01/22 14:50:52                      Desc Main
                                          Document      Page 1 of 8



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 WOMBLE BOND DICKINSON (US) LLP
 Ericka F. Johnson (NJ #032162007)
 1313 N. Market Street, Suite 1200
 Wilmington, Delaware 19801
 (302) 252-4337
 ericka.johnson@wbd-us.com

 Counsel for Ad Hoc Committee of States



                                                                    Case No.: 21-30589 (MBK)
 In re:
                                                                    Chapter: 11
 LTL MANAGEMENT, LLC,
                                                                    Requested Hearing: April 12, 2022,
                                     2
                           Debtor.                                  10:00 a.m.

                                                                    Hon. Michael B. Kaplan

     MOTION OF THE AD HOC COMMITTEE OF STATES HOLDING CONSUMER
        PROTECTION CLAIMS SEEKING RELIEF WITH RESPECT TO THE
               ORDER ESTABLISHING MEDIATION PROTOCOL

          The Ad Hoc Committee of States Holding Consumer Protection Claims (the “Ad Hoc

 Committee of States”),3 by its undersigned counsel, Womble Bond Dickinson, LLP, hereby

 moves (the “Motion”) the Court, pursuant to Fed. R. Bankr. P. 9023 and 9024, for

 reconsideration of the Order Establishing Mediation Protocol (Dkt. 1780) (“Mediation Order”),

 and in support thereof, respectfully states as follows:


 2
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501
 George Street, New Brunswick, New Jersey 08933.
 3
          The Ad Hoc Committee of States is in the process of forming and the member states may be modified
 through the filing of an amended Notice of Appearance or other applicable filing. The current members of the Ad
 Hoc Committee of States (“Member States”) are: Alabama, Alaska, Arkansas, Arizona, Colorado, Connecticut,
 Delaware, Florida, Hawaii, Idaho, Illinois, Iowa, Kansas, Kentucky, Maine, Maryland, Massachusetts, Michigan,
 Minnesota, Mississippi, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New York, North Carolina,
 North Dakota, Ohio, Oklahoma, Oregon, Rhode Island, South Dakota, Texas, Utah, Vermont, Virginia, Washington,
 Washington, D.C., West Virginia and Wisconsin.
Case 21-30589-MBK       Doc 1939     Filed 04/01/22 Entered 04/01/22 14:50:52            Desc Main
                                   Document      Page 2 of 8



                                PRELIMINARY STATEMENT

        1.      The forty (40) member states and one district of the Ad Hoc Committee of States

 collectively hold consumer protection claims that are significant, encompassing civil penalties

 that, based on the statutory maximum per violation, could in principle run into the trillions of

 dollars. These claims are independent of, and in addition to, any claims available to individual

 users of talc products or claims of state or governmental entities that are not Member States. The

 significance of the Member States’ claims and the injunctive relief with respect to talc-

 containing products that will need to be resolved require direct involvement of the Ad Hoc

 Committee of Member States and participation in any discussions or negotiations related to

 resolution of the Debtor’s bankruptcy case, including any potential plan.

        2.      The Mediation Order, in its current form, makes such participation in the plan

 process extremely difficult if not impossible. Pursuant to Fed. R. Civ. P. 59 and 60, made

 applicable to this case by Fed. R. Bankr. P. 7023 and 7024, respectively, the Ad Hoc Committee

 of States requests that the Mediation Order be modified to limit the scope of the mediation to

 matters only affecting the parties referred to mediation. The current scope, which includes

 formulation of a plan, is improper given that only one constituent class has been referred to

 mediation with the Debtor and such referral is under overreaching confidentiality provisions that

 undercut the openness by which the bankruptcy process should be conducted.

                                         JURISDICTION

        3.      The Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue in this district is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        BACKGROUND



                                             2
Case 21-30589-MBK         Doc 1939      Filed 04/01/22 Entered 04/01/22 14:50:52         Desc Main
                                      Document      Page 3 of 8



         4.       The Ad Hoc Committee of States currently represents (40) member states and one

 district.    The Member States hold claims for monetary and injunctive relief against LTL

 Management LLC (the “Debtor”) based upon the Debtor’s representation that it is a successor to

 liabilities of Johnson & Johnson Consumer Inc., arising from multiple violations of applicable

 state consumer protection laws in connection with the sale of talc-containing products (the

 “Consumer Protection Claims”).             These claims have been the subject of a multi-state

 investigation of Johnson & Johnson Consumer, Inc. and its ultimate parent, Johnson & Johnson

 Inc., both repeat offenders of the consumer protection laws.

         5.       The Debtor commenced this case on October 14, 2021 (the “Petition Date”) by

 filing a voluntary petition for relief under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”) in the United States Bankruptcy Court for the Western District of North

 Carolina, Charlotte Division (the “N.C. Court”). The N.C. Court entered an order transferring

 venue of this case to the District of New Jersey on November 16, 2021.

         6.       On February 25, 2022, this Court denied motions filed by various parties to

 dismiss this case as a bad faith filing.

                                 The Mediation Order Is Entered
                             Without Notice to Creditor Constituencies

         7.       Notice of entry of the Mediation Order was without proper due process. There

 was no notice to affected parties, which includes all interested parties in this case, of the

 Mediation Order or of a hearing on the same.

         8.       The only docketed notice of the Mediation Order was in a letter filed by the

 Official Committee of Talc Claimants II (“TCC II”). Specifically, on March 10, 2022, TCC II

 filed a letter with the Court (Dkt. 1694) indicating that the Court had appointed the Honorable

 Joel Schneider (Ret.) and Gary Russo, Esq. (together, the “Co-Mediators”) as co-mediators at a


                                                3
Case 21-30589-MBK          Doc 1939       Filed 04/01/22 Entered 04/01/22 14:50:52                   Desc Main
                                        Document      Page 4 of 8



 hearing on March 8, 2022, without prejudice to the rights of TCC II to challenge their

 appointment.4 TCC II’s letter further indicated that a mediation protocol would be discussed at a

 hearing scheduled for March 16, 2022. This hearing was not noticed and the Court’s website

 was not updated to include this hearing date or time.

         9.       The Debtor did not file its proposed mediation protocol with the Court or

 otherwise make it available to the public prior to the hearing on March 16, 2022 or prior to its

 entry on March 18, 2022.

                              The Mediation Order is All-Encompassing

         10.      The Mediation Order is extremely broad, appointing the Co-Mediators to mediate

                  a comprehensive resolution of issues in the Case (the “Mediation Issues”)
                  which includes, without limitation, a chapter 11 plan, and all matters
                  related to the estimation and plan treatment of personal injury claims
                  against the estate related to talc or talc-containing products.

  Mediation Order, ¶ 2.

         11.      The Mediation Order designates four (4) parties to be the “Mediation Parties” to,

 presumably, negotiate the ultimate objective of the entire bankruptcy case – the terms of a

 chapter 11 plan. The Mediation Order did not include any other stakeholders. By the terms of

 the Mediation Order, only the Debtor and its affiliates, the Official Committee of Talc Claimants

 I (“TCC I”), TCC II and any Court-appointed Future Talc-Claimants Representative would be

 privy to plan negotiations with the Co-Mediators.

         12.      In addition to limiting the constituencies designated to participate in a mediation

 intended to shape the final outcome of the bankruptcy case, the Mediation Order has the

 unintended consequence of making it extremely difficult if not impossible for any party other




 4
   The Notice of Agenda of Matters Scheduled For Hearing On March 8, 2022 At 10:00 a.m. [Dkt. No. 1630] did not
 include any reference to the selection of co-mediators or consideration of a mediation protocol.
                                                  4
Case 21-30589-MBK          Doc 1939     Filed 04/01/22 Entered 04/01/22 14:50:52               Desc Main
                                      Document      Page 5 of 8



 than the Mediation Parties to negotiate meaningfully about a plan. The Mediation Order requires

 each Mediation Party to agree that:

                  (1)     their participation in the mediation, (2) everything said by any
                  Mediation Party during, respecting or relating to the mediation, (3) the
                  fact that mediation is taking place, (4) any other Mediation Party’s
                  participation in the mediation, (5) the date, time or place of the
                  mediation, (6) statements made by the Mediators or any Mediation
                  party, in, during or related to the mediation, (7) who is participating or
                  has participated in the mediation, (8) all documents, letters, emails,
                  reports, analyses and the like prepared for, distributed during or
                  utilized in connection with or related to the mediation shall not,
                  without the express written authorization of the mediators, be
                  disclosed, summarized or described by any Mediation party to any
                  person(s) orally, in open Court, in any court pleading, in any press
                  release or in any public statement or other form of communication.

 Mediation Order, ¶ 4(k).       Any plan will be a comprehensive, integrated structure and no

 constituency’s claim can be addressed in a vacuum without prejudicing such constituency’s

 rights.      Without the ability to discuss context, global resolutions, or any terms under

 consideration, the Mediation Parties will be unable to negotiate the terms of a plan with other

 parties.

            13.   In addition, the breadth of the confidentiality provisions creates the appearance

 that the mediation will be cloaked in complete secrecy, the antithesis of the bankruptcy process.

 Permitting the Co-Mediators to file status reports under seal compounds the unfortunate

 impression that creditors (other than those represented by the Mediation Parties) will be kept in

 the dark until a plan is presented to them, by which time it will be too late for constituencies to

 negotiate their own treatment. Mediation Order ¶ 4(i).

            14.   The Mediation Order further appears to contemplate that the Co-Mediators, the

 Mediation Parties and their representatives may participate in ex parte discussions with the

 Court. Mediation Order, ¶ 4(h) (“The Co-Mediators are permitted, in their discretion, to speak,

 ex parte with the Court and/or the individual Mediation Parties and/or their representatives about
                                                5
Case 21-30589-MBK          Doc 1939     Filed 04/01/22 Entered 04/01/22 14:50:52              Desc Main
                                      Document      Page 6 of 8



  the Mediation Issues.”).     The Mediation Order should be refined to clarify that ex parte

  discussions with the Court are not permitted.

                                             ARGUMENT

        15.      Fed. R. Civ. P. 59, made applicable to this case by Fed. R. Bankr. P. 9023,

 permits alteration or amendment of a judgment upon a showing of (a) an intervening change in

 the law, (2) the availability of new evidence that was not available when the court rendered its

 decision, or (3) the need to correct a clear error of law or fact, or to prevent a manifest injustice.

 See Max’s Seafood Café ex re. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999).

        16.      The Third Circuit has not established a precise definition for “clear error of law or

 fact” or for “manifest injustice,” but it has stated that “the focus is on the gravity and overtness of

 the error” and the error must be “one that is of least some importance to the larger proceedings.”

 In re Energy Future Holdings Corp., 904 F.3d 298 (3d Cir. 2018) (affirming Bankruptcy Court’s

 reconsideration and modification of prior order).

        17.      Fed. R. Civ. P. 60, made applicable to this case by Fed. R. Bankr. P. 9024,

 similarly authorizes a court to relieve a party from an order or proceeding based upon mistake,

 inadvertence, “when applying it prospectively is no longer equitable” or any other reason that

 justifies relief. Fed. R. Civ. P. 60(b)(1), (b)(5) and (b)(6).

        18.      As this Court recognized when it declined to dismiss the case, “[t]he Bankruptcy

 Code requires full transparency of all assets, liabilities and financial conduct through scheduling

 and reporting.” In re LTL Management, LLC, 2022 WL 596617 at *22 (Bankr. D.N.J. Feb. 25,

 2022). There is no question that this is a complex case for which mediation is appropriate.

 However, in order to be successful, “any mediation must be fair to all parties and protective of

 due process.” In re Diocese of Buffalo, 634 B.R. 839, 844 (Bankr. W.D.N.Y. 2021). Establishing



                                                6
Case 21-30589-MBK         Doc 1939     Filed 04/01/22 Entered 04/01/22 14:50:52         Desc Main
                                     Document      Page 7 of 8



 a mediation protocol from the outset that is fair and comports with due process will preserve the

 public trust in the judicial system and the outcome of this case.

        19.      The Ad Hoc Committee of States is without question a major constituency in this

 case. In light of the nature of the claims held by the Member States, the participation of the Ad

 Hoc Committee of States in a consensual plan process would be highly beneficial to the

 administration of the Debtor’s estate. The Mediation Order was entered without proper notice to

 parties affected by it and the Ad Hoc Committee of States respectfully requests that the Court

 reconsider such order.

        20.      Specifically, the Ad Hoc Committee respectfully requests that the scope of the

 Mediation Order be limited to resolution only of the claims of the parties represented by the

 Mediation Parties. The Mediation Order should further be modified to limit the confidentiality

 provisions in a manner that enables parties in interest to participate meaningfully in the

 bankruptcy case without hindering the Debtor’s ability to openly discuss and negotiate with its

 creditor body potential plan provisions and treatment of other claims. Finally, the Mediation

 Order should clarify that ex parte discussions with the Court are not permitted.

                                           CONCLUSION

         WHEREFORE, for the reasons set forth above and as may be raised at a hearing on this

 Motion, the Ad Hoc Committee of States requests entry of an Order (1) limiting the scope of the

 Mediation Order to resolution of the claims of those individuals and entities represented by the

 Mediation Parties, (2) modifying the confidentiality provisions of the Mediation Order to permit

 an open plan process, and (3) specifying that ex parte discussions with the Court are not

 permitted, and (4) granting such other and further relief as may be just and proper.


 Dated: April 1, 2022                                   /s/ Ericka F. Johnson
                                                        Ericka F. Johnson (NJ #032162007)
                                               7
Case 21-30589-MBK   Doc 1939     Filed 04/01/22 Entered 04/01/22 14:50:52    Desc Main
                               Document      Page 8 of 8



                                             Womble Bond Dickinson (US) LLP
                                             1313 N. Market Street, Suite 1200
                                             Wilmington, Delaware 19801
                                             (302) 252-4320
                                             ericka.johnson@wbd-us.com




                                      8
